                 Case 23-10961-BLS             Doc 289        Filed 09/05/23         Page 1 of 3




                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF DELAWARE

In re:                                                  Chapter 11

WILLIAMS INDUSTRIAL SERVICES                            Case No. 23-10961 (BLS)
GROUP INC., et al.,1
                                                        (Jointly Administered)
                             Debtors.


               NOTICE OF SUCCESSFUL BIDDER’S ASSUMPTION AND
         ASSIGNMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         PLEASE TAKE NOTICE that on August 19, 2023, the United States Bankruptcy Court

for the District of Delaware (the “Court”) entered the Order (I) Approving Bidding Procedures

for the Sale of Debtors’ Assets, (II) Scheduling Hearings and Objection Deadlines with Respect

to the Sale, (III) Scheduling Bid Deadlines and an Auction, (IV) Approving the Form and

Manner of Notice thereof, (V) Approving Assumption and Assignment Procedures for Executory

Contracts and Unexpired Leases, (VI) Authorizing and Approving the Debtors’ Entry into the

Stalking Horse APA, (VII) Authorizing and Approving Bid Protections, and (VIII) Granting

Related Relief [Docket. No. 196] (the “Bidding Procedures Order”),2 authorizing, among other

things, the Debtors to conduct a marketing and sale process with respect to certain of the

Debtors’ assets and approving certain bidding procedures in connection therewith (the “Bidding

Procedures”).


1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
    number, include: Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC
    (2666), Williams Industrial Services, LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty
    Services, LLC (9578), WISG Electrical, LLC (6918), Construction & Maintenance Professionals, LLC (0925),
    Williams Global Services, Inc. (3708), Steam Enterprises, LLC (9177), GPEG LLC (5707), Global Power
    Professional Services, Inc. (2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N. 3510), and WISG
    Electrical Ltd. (B.N. 2116). The location of the Debtors' corporate headquarters and service address is: 200
    Ashford Center N, Suite 425, Atlanta, GA 30338.
2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
    Bidding Procedures Order or the Bidding Procedures, as applicable.


DOCS_DE:244596.1 23767/001
                 Case 23-10961-BLS        Doc 289    Filed 09/05/23    Page 2 of 3




        PLEASE TAKE FURTHER NOTICE that, pursuant to the Bidding Procedures Order,

the Court established August 31, 2023 at 10:00 a.m. (prevailing Eastern Time) as the date and

time of the Auction, if one was needed.

        PLEASE TAKE FURTHER NOTICE that, on August 30, 2023, the Debtors filed the

Notice of Auction Cancellation and Designation of Successful Bidder [Docket No. 231] (the

“Notice of Successful Bidder”) designating EnergySolutions Nuclear Services, LLC (the

“Stalking Horse Bidder”) as the Successful Bidder.

        PLEASE TAKE FURTHER NOTICE that a hearing to consider approving the sale of

certain of the Debtors’ assets free and clear of all claims, liens and encumbrances to the Stalking

Horse Bidder will take place before the Honorable Brendan L. Shannon, in the United States

Bankruptcy Court for the District of Delaware, 824 North Market Street, 6th Floor, Courtroom 1,

Wilmington, Delaware 19801, on September 7, 2023, at 2:00 p.m. (prevailing Eastern Time).

        PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit A is a schedule

of executory contracts and unexpired leases (such schedule, the “Assumed Contracts Schedule,”

and the contracts and leases listed thereon, the “Assumed Contracts”) that the Buyer intends to

have the Debtors assume and assign to the Buyer at Closing (as defined in the Stalking Horse

APA) in connection with the sale of the Debtors’ assets, subject to entry of the Sale Order and

the satisfaction of all conditions precedent set forth in the Stalking Horse APA.



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DOCS_DE:244596.1 23767/001
                 Case 23-10961-BLS    Doc 289     Filed 09/05/23   Page 3 of 3




        PLEASE TAKE FURTHER NOTICE that the Stalking Horse Purchaser reserves all

rights to modify or supplement the Assumed Contracts Schedule, including to add or remove any

executory contracts and unexpired leases from the Assumed Contracts Schedule, in accordance

with the Stalking Horse APA and Bidding Procedures Order.

Dated: September 5, 2023             PACHULSKI STANG ZIEHL & JONES LLP
       Wilmington, Delaware
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                                     -and-

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                                     and EnergySolutions, LLC




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DOCS_DE:244596.1 23767/001
